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 4
 5   Attorney for Defendant
     JOSE GILBERTO LOPEZ
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,       )       No. CR-S 12-0370 MCE
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER VACATING
13        v.                         )       DATE, CONTINUING CASE, AND
                                     )       EXCLUDING TIME
14   Jose Gilberto Lopez,            )
                    Defendant.       )
15                                   )       Date   September 26, 2013
     _______________________________ )       Time: 9:00 a.m.
16                                   )       Judge: Hon. England
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney Olusere Olowoyeye, Counsel for Plaintiff, and Attorney Dina L.
20   Santos, Counsel for Defendant Jose Gilberto Lopez; that the status
21   conference scheduled for September 12, 2013, be vacated and the matter
22   be continued to this Court's criminal calendar on September 26, 2013,at
23   9:00 a.m. for further status/possible change of plea.
24        This continuance is requested by the defense in order to finalize
25   some changes to the plea agreement.
26        The parties further stipulate and agree that the Court shall find
27   that:   (1) the failure to grant a continuance in this case would deny
28   defendant and defense counsel reasonable time necessary for effective
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 1   preparation, taking into account the exercise of due diligence; (2) the
 2   ends of justice to be served by granting the requested continuance
 3   outweigh the best interests of the public and the defendant in a speedy
 4   trial; and (3) the time period from the date of this stipulation, to
 5   and including, the new status conference hearing shall be excluded from
 6   computation of time within which the trial of this case must be
 7   commenced under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and
 8   (B)(iv), and Local Code T4 pertaining to defense preparation.
 9        It is further stipulated that all parties have conferred and
10   agreed to the September 26,2013 date, and that all parties have
11   consented to Ms. Santos signing and submitting this stipulation.
12
13        IT IS SO STIPULATED.
14
15   Dated: Sept. 10, 2013                   /S/ Dina L. Santos
                                            DINA L. SANTOS
16                                          Attorney for
                                            Jose Gilberto Lopez
17
18
19
     Dated: Sept. 10, 2013                   /S/ Olusere Olowoyeye
20                                          OLUSERE OLOWOYEYE
                                            Assistant United States Attorney
21
22                                     O R D E R
23          IT IS SO ORDERED.
24   Date: September 12, 2013
25   _____________________________________
26                                    _____________________________________________
                                      MORRISON C. ENGLAND, JR., CHIEF JUDGE
27                                    UNITED STATES DISTRICT COURT
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